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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                   )
IN RE PHARMACEUTICAL INDUSTRY      )                        MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION )                        Master File No. No. 01-12257-PBS
                                   )
                                   )
THIS DOCUMENT RELATES TO:          )
                                   )                        Judge Patti B. Saris
ALL ACTIONS                        )
                                   )


                Pursuant to Rule 83.5.3 of the Local Rules of the United States District Court for

the District of Massachusetts and pursuant to this Court’s Case Management Order No. 1, ¶ 16,

the undersigned counsel moves that David D. Bassett, Sean R. Flanagan, Anjna R. Kapoor,

Wook Kim, Sojin Yoon, Andrea G. Kahn, Anne M. Mangiardi, and Jessica K. Shook be

permitted to appear and participate in this action pro hac vice as counsel for Defendants Mylan

Inc. (formerly known as Mylan Laboratories Inc.), Mylan Pharmaceuticals Inc., and UDL

Laboratories, Inc. (collectively “Mylan”). The undersigned counsel also states as follows:

                1.     Mr. Bassett, Mr. Flanagan, Ms. Kapoor, Mr. Kim, Ms. Yoon, Ms. Kahn,

Ms. Mangiardi and Ms. Shook are attorneys with the law firm of Kelley Drye & Warren, 101

Park Ave, New York, New York, 10178.

                2.     The accompanying declarations of counsel, attached hereto as Exhibits A

through H, certify that these attorneys have met the requirements to practice before the United

States District Court for the District of Massachusetts.

                3.     A check in the amount of $400.00 is being forwarded simultaneously with

this motion for these attorneys’ respective admissions pro hac vice.




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                WHEREFORE, the undersigned counsel respectfully requests that this Court

grant this motion to admit Mr. Bassett, Mr. Flanagan, Ms. Kapoor, Mr. Kim, Ms. Yoon, Ms.

Kahn, Ms. Mangiardi and Ms. Shook pro hac vice.



Dated: March 12, 2010

                                                   Respectfully submitted,


                                                   /s/ Thomas J. Bone
                                                   Thomas J. Bone (BBO# 666688)
                                                   Martin F. Murphy (BBO# 363250)
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                                            Attorneys for Defendant Mylan Inc., f/k/a Mylan
                                            Laboratories Inc., Mylan Pharmaceuticals Inc. and
                                            UDL Laboratories, Inc.




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                                 CERTIFICATE OF SERVICE

                I certify that a true and correct copy of the foregoing was delivered to all counsel

of record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by

sending on March 12, 2010, a copy to LexisNexis File and Serve for posting and notification to

all parties.


                                                       /s/ Thomas J. Bone
                                                      Thomas J. Bone




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